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 8                                  UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                       No. 1:15-cr-00286-DAD-BAM
12                     Plaintiff,
13           v.                                      ORDER GRANTING REQUEST FOR
                                                     RECONSIDERATION
14   HAITHAM EID HABASH,
                                                     (Doc. No. 181)
15                     Defendant.
16

17           On November 7, 2016 the government moved for an order requiring defendant Habash to

18   provide handwriting exemplars in addition to those already provided by him in response to a prior

19   government motion. (Doc. No. 152.) On January 9, 2017, U.S. Magistrate Judge Barbara A.

20   McAuliffe denied the government’s motion. (Doc. No. 175.) On January 13, 2017, the

21   government requested reconsideration of that order by the undersigned. (Doc. Nos. 181, 201.)

22   Defendant filed his opposition to the request for reconsideration on February 14, 2017. (Doc. No.

23   210.) On February 21, 2017, the government filed its reply. (Doc. No. 212.) The matter came on

24   for hearing before the court on February 27, 2017 at which time Assistant U.S. Attorney Karen

25   Escobar appeared on behalf of the government and attorney Shaun Khojayan appeared on behalf

26   of defendant Haitham Habash. (Doc. No. 213.) For the reasons set forth below, the

27   government’s request for reconsideration will be granted.

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 1                                                Background

 2          On October 8, 2015, defendant Habash was charged by way of grand jury indictment with

 3   conspiracy to manufacture, distribute and possess with the intent to distribute synthetic

 4   cannabinoids in violation of 21 U.S.C. §§ 846 and 841 (Count One).1 There is also a criminal

 5   forfeiture allegation in the indictment brought pursuant to 21 U.S.C. § 853(p). (Id.) Since at least

 6   November of 2015, the government has been seeking handwriting exemplars from defendant

 7   Habash, apparently in order to compare his handwriting to that reflected on receipts and other

 8   documents seized during the government’s investigation. (Doc. No. 71.) The government’s

 9   request for handwriting exemplars came before the previously assigned district judge and, much

10   more frequently, Magistrate Judge McAuliffe on a number of occasions and in various forms.

11   (See Doc. Nos. 86, 106, 111, 121, 134, 138 and 175.) As a result of those proceedings, it appears

12   that on May 9, 2016, the defendant did sit for purposes of providing a handwriting sample and did

13   so by completing a twelve page IRS Form 6540 Handwriting/Hand printing Exemplar under the

14   direction of government agents. (Doc. No. 210 at 9–20.) However, when that exemplar was

15   submitted IRS Forensic Document Examiner Jason Lee Minor along with the questioned

16   documents, the examiner reported on August 15, 2016, that he could not reach a conclusion as to

17   whether the author of the exemplar and the author of the questioned writings were the same.

18   (Doc. Nos. 210 at 22-23; see also 212-1 at 62–73.) It was then that the government moved for an

19   order requiring additional handwriting exemplars from defendant Habash, which Magistrate

20   Judge McAuliffe denied. It is that order which is now the subject of this request for
21   reconsideration.

22          The briefing submitted by both parties on the request for reconsideration failed to clearly

23   state the parties’ positions or the basis of those positions with respect to the critical issues of what

24   the government specifically was seeking and what defendant specifically objected to. From the

25   court’s point of view, the hearing on the request for reconsideration provided no clarification.

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27     Three additional defendants were named in the indictment and were charged both with the
     conspiracy alleged in Count One as well as in Counts Two through Seven. (Doc. No. 1.)
28   Defendant Habash was charged only in Count One.
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 1   Moreover, there has been considerable confusion throughout the proceedings as to whether

 2   examiner Miller was unable to reach a conclusion because of alleged deficiencies in the exemplar

 3   provided to him, deficiencies in the questioned documents themselves, or both.2 Finally, there

 4   has even been confusion and disputes about the limitations Judge McAuliffe imposed on the

 5   handwriting exemplar, whether any limitations imposed were complied with and the very nature

 6   and length of the exemplar actually provided by the defendant. Unfortunately, this lack of clarity

 7   has left the court to sift through the record of the various proceedings and submissions on the

 8   issue of defendant Habash’s giving of a handwriting exemplar.

 9           The court will not expend any more time addressing this issue than is necessary. Based

10   upon a review of the documents submitted in connection with the motion for reconsideration, the

11   court concludes as follows: (1) while the nature of the questioned documents (copies, not

12   originals) is an impediment to the rendering of an opinion, according to examiner Miller the

13   primary reason for his inability to reach a conclusion was the lack of an adequate and comparable

14   writing sample from defendant; (2) the deficiency in the exemplar found by examiner Miller was

15   not based upon any limitation imposed by Magistrate Judge McAuliffe with respect to the

16   exemplar but rather was due in large part to the fact that the exemplar sought and obtained by the

17   government (largely cursive and upper and lowercase hand printing) were not of the same type as

18   that appearing in the questioned documents (written with all upper case letter forms)3; (3)

19   examiner Miller contends that he requires multiple repetitions in the exemplar of the exact text of

20   the questioned documents so that a direct comparison may be made.
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       In the court’s view this confusion is at least in part due to the unnecessarily dense and complex
24   manner in which examiner Miller has stated his findings in writing. (See Doc. Nos. 210 at 22–23;
     see also 212-1 at 62–73.)
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26     The fault with respect to this deficiency in the exemplar lies with the government. Almost
     without exception, the government obtained the handwriting exemplar they requested. It appears
27   the government simply failed to consult with its forensic document examiner before obtaining
     that exemplar and when they used the Form 6540, it did not provide the examiner what he
28   required in order to render an opinion.
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 1                                                Analysis

 2          Contrary to the government’s contention, the magistrate judge’s order denying the request

 3   for an order compelling defendant to sit for a second handwriting exemplar is to be upheld unless

 4   “clearly erroneous or contrary to law.” Local Rule 303(f); United States v. Hunt, No. 2:11-CR-

 5   441 KJM, 2013 WL 5279075, at *1 (E.D. Cal. Sept. 18, 2013). As the magistrate judge

 6   recognized here, “[i]t is clear that compelling handwriting samples for identification purposes

 7   does not violate the Fifth Amendment privilege against self-incrimination.” In re Grand Jury

 8   Proceedings, 579 F.2d 1135, 1136 (9th Cir. 1978) (citing Gilbert v. California, 388 U.S. 263

 9   (1967)); see also United States v. Mara, 410 U.S. 19, 21 (1973) (“Handwriting, like speech, is

10   repeatedly shown to the public, and there is no more expectation of privacy in the physical

11   characteristics of a person’s script than there is in the tone of his voice.”); Commonwealth of

12   Northern Mariana Islands, 236 F.3d 1083,1093 n.5 (9th Cir. 2001). The fact that the government

13   is seeking the handwriting exemplars from defendant post-indictment is of no significance to this

14   analysis. (See Doc. No. 212 at 8–9) (cases cited therein).

15          The final issue that the parties have discussed at length but never adequately brought

16   focus to, is the question of whether defendant Habash can be required to repeatedly write specific

17   phrases or sentences. Perhaps in part because of that lack of precision by the parties, Magistrate

18   Judge McAuliffe expressed a concern that requiring a handwriting exemplar session at which the

19   defendant was required to repeatedly write specific language that has meaning in the context of

20   this prosecution would violate his Fifth Amendment right not to incriminate himself. (See Doc.
21   No. 201-1 at 25, 26, 29.) Such a concern is not without some support. See United States v.

22   Green, 282 F. Supp. 373, 375 (D. Ind. 1968) (“What is here sought is an exemplar displaying

23   selected phrases allegedly germane to this case. To lend the compulsory processes of the Court to

24   the procurement of such an exemplar without the voluntary cooperation of the accused would be

25   an infringement upon the spirit of the constitutional prohibition against compelling the accused to

26   be a witness against himself.”). However, the weight of authority is to the contrary. See In re
27   Grand Jury Proceedings, 579 F.2d at 1135 (concluding that having a defendant write what might

28   be construed as testimonial statements or phrases as part of a handwriting exemplar does not
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 1   violate the Fifth Amendment privilege against self-incrimination if the intended use of the

 2   exemplar is only for purposes of identifying handwriting and “not as testimonial expressions of

 3   the truth of those phrases”); United States v. Doe, 405 F.2d 436, 437–38 (2d Cir. 1968) (affirming

 4   order requiring defendant “to reproduce the very instruments used in the commission of the

 5   crime” as part of a handwriting exemplar and rejecting opposition thereto on Fifth Amendment

 6   grounds) (citing United States v. Wade, 388 U.S. 218, 222–23 (1967)); Lewis v. United States,

 7   382 F.2d 817, 819 (D.C. Cir. 1967) (“The act of writing designated words for comparison does

 8   not communicate anything about Appellant’s knowledge; it creates tangible evidence, to be sure,

 9   but if neither the resultant evidence nor the act of creating it is communicative, we see no reason

10   why it should make any difference that Appellant had to act.”); see also United States v. Batiste,

11   No. 06-20373-CR, 2007 WL 2316516, at *2 (S.D. Fla. Aug. 9, 2007) (“Constitutional protections

12   are not automatically implicated simply because the text prepared for obtaining a handwriting

13   exemplar includes words and phrases taken from the questioned document.”); United States v.

14   Kallstrom, 446 F.Supp.2d 772, 777 (E.D. Mich. 2006) (concluding that the dictation method of

15   obtaining a handwriting exemplar violated the Fifth Amendment by essentially requiring the

16   person to state how he spells certain words and instead ordering that the defendant “provide

17   samples of his handwriting to the government’s representative by means of copying from a

18   prepared text”); U.S. ex rel. Herring v. Fenton, 531 F. Supp. 937, 943 (D. N.J. 1981) (“[E]xperts

19   in questioned documents prefer to work with undeniable standards, usually prepared by the

20   subject in his presence or in the presence of someone skilled in the securing of reliable exemplars
21   in ways that tend to reduce the risk of altered handwriting. . . . Also, the subject is asked to write

22   out a number of times, on separate slips of paper, selected words or phrases taken from the

23   questioned document.”). Accordingly, to the extent the magistrate judge may have limited the

24   scope of the handwriting exemplar on Fifth Amendment grounds, the undersigned concludes that

25   the order was contrary to law.

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 1           Defendant argues that he provided the handwriting sample requested and that it is not his

 2   fault that the government’s forensic document examiner found the exemplar to be insufficient for

 3   purposes of rendering an opinion. The undersigned agrees. However, that argument provides no

 4   legal ground upon which to object to the providing of a second exemplar. Defendant also

 5   expresses concern that the government is motivated merely by a desire to create a trial exhibit for

 6   use in its prosecution of the case. That concern is premature. The government has represented

 7   that its forensic document examiner requires an additional exemplar in order to render an opinion

 8   as to whether the author of the exemplar and the author of the questioned documents is the same

 9   person. The court is aware of its gatekeeping function with respect to expert testimony (see

10   Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993) and Kumho Tire Company,

11   Ltd. v. Carmichael, 526 U.S. 137 (1999)), as well as of its responsibility to determine whether

12   relevant evidence should be excluded under Federal Rule of Evidence 403 because its probative

13   value is substantially outweighed by the danger of unfair prejudice, confusion of the issues or

14   misleading the jury. In short, merely because the court will order that a second handwriting

15   exemplar be provided by defendant Habash does not mean that the exemplar itself will be

16   admitted into evidence at any trial, for that is an entirely different matter.

17           Finally, at the hearing on the motion the government seemed to suggest a much more

18   extensive exemplar session than that previously attended by defendant Habash. At some point,

19   however, requiring the defendant to write for hours on end is suggestive of mere harassment.

20   Defendant Habash has already provided a twelve page handwriting exemplar on the IRS Form
21   6540, as requested. While examiner Miller found that exemplar to be insufficient for his

22   purposes, he has not stated that it was entirely worthless, nor would it appear that he could

23   credibly do so. Accordingly, the government will be limited to a second handwriting session with

24   defendant Habash of no longer than two hours in length. Certainly no argument advanced by the

25   government in its motion for reconsideration nor anything in forensic document examiner

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 1   Miller’s declarative statement4 would justify any longer second handwriting session by the

 2   defendant.5

 3                                                Conclusion

 4          For the reasons set forth above, the government’s motion for reconsideration (Doc. No.

 5   181) is hereby granted. Defendant Habash is ordered to provide a second handwriting exemplar

 6   at a session of no longer than two hours in length. At that session defendant Habash may be

 7   required to write specific phrases in specific styles (such as in all upper case letters) and to repeat

 8   in writing the letters, words, phrases or sentences numerous times as directed. Because the court

 9   concludes that the insufficiency of the first exemplar was caused in large part by the

10   government’s apparent failure to learn from its forensic examiner in advance what the exemplar

11   should contain, this second handwriting session shall be held within thirty days of the date of this

12   order at an agreed upon location convenient to defendant Habash and his counsel.

13   IT IS SO ORDERED.
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         Dated:    March 15, 2017
15                                                       UNITED STATES DISTRICT JUDGE

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24     As noted, the only substantive deficiencies noted by examiner Miller in his declarative
     statement were that: (1) the questioned writing consisted entirely of uppercase hand printing and
25   numerals, while the majority of the exemplar was in cursive or lower case printing; (2) the
26   exemplar did not include exact text samples; and (3) the exemplar did not include sufficient
     repetition. (Doc. No. 212-1 at 64–65.)
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       To be clear, the court will not entertain any attempt by the government to supplement the
28   showing made to date in this regard.
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